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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    FRANCHISE GROUP, INC., et al.,                                     Case No. 24-12480 (JTD)

                                   Debtors.1                           (Jointly Administered)

                                                                       Ref. Docket Nos. 51, 134, 154, 335-1,
                                                                       336-1

                       STATEMENT OF THE OFFICIAL COMMITTEE
                   OF UNSECURED CREDITORS IN SUPPORT OF THE
             DEBTORS’ (I) DIP MOTION AND (II) BIDDING PROCEDURES MOTION

             The Official Committee of Unsecured Creditors (the “Committee”) of Franchise Group,

Inc. and its debtor affiliates (collectively, the “Debtors”) in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”), by and through its undersigned proposed counsel, hereby submits this

statement (this “Statement”) in support of the Debtors’ (i) DIP Motion,2 amended as reflected in


1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware,
      Ohio 43015.
2
      Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Senior Secured
      Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing Claims With Super


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the proposed revised Final Order (I) Authorizing the Debtors to (A) Obtain Senior Secured

Priming Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens

and Providing Claims With Superpriority Administrative Expense Status, (III) Granting Adequate

Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V) Granting

Related Relief [D.I. 336-1] (the “Revised Final DIP Order”),3 annexed as Exhibit A to that certain

Notice of Filing, etc. [D.I. 336], and (ii) Bidding Procedures Motion,4 amended as reflected in the

proposed revised Bidding Procedures [D.I. 335-1] (the “Revised Bidding Procedures”),5

annexed as Exhibit A to that certain Notice of Filing, etc. [D.I. 335]. In support of this Statement,

the Committee respectfully states as follows:

                                                 STATEMENT

          1.        The Committee was appointed less than three weeks ago on November 19, 2024.

Wide-ranging disputes predating the Committee’s involvement have consumed and continue to

consume these complex and contentious Chapter 11 Cases and are the subject of extensive

litigation.

          2.        Recognizing the need for material changes to the status quo and the proposed path

forward, the Committee—an independent fiduciary—promptly engaged in                                   hard-fought,

arm’s-length negotiations with the Debtors, an ad hoc group of first lien lenders (the “First Lien



     Priority Administrative Expense Status, (III) Granting Adequate Protection to the Prepetition Secured Parties,
     (IV) Modifying the Automatic Stay, and (V) Granting Related Relief [D.I. 51] (the “DIP Motion”).
3
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to search terms in the
     DIP Motion or Amended Final DIP Order, as applicable.
4
     Debtors’ Motion for Entry of Orders (I) (A) Approving Bidding Procedures for the Sale of All or Substantially All
     of the Debtors’ Assets, (B) Scheduling an Auction and a Sale Hearing and Approving the Form and Manner of
     Notice Thereof, (C) Approving Assumption and Assignment Procedures, and (D) Granting Related Relief; and
     (II) (A) Approving the Sale of the Debtors’ Assets
5
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to search terms in the
     DIP Motion, Revised Final DIP Order, the Bidding Procedures Motion, or the Revised Bidding Procedures, as
     applicable.

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Lender Group”), and other key stakeholders to address critical issues in connection with, among

others, the relief originally requested in the DIP Motion and the Bidding Procedures Motion. The

Committee is pleased to report that the parties’ efforts were fruitful.                   After substantial

improvements to the relief sought in the DIP Motion and the Bidding Procedures Motion, the

Committee now supports the relief requested in those motions, as modified.

          3.        Specifically, the Committee succeeded in obtaining significant concessions from

the Debtors and the First Lien Lender Group that have been incorporated into the proposed Revised

Final DIP Order and Revised Bidding Procedures presently before this Court. Summaries of

certain of those modifications are set forth below:6

          A.        Revised Final DIP Order

           Term                                                 Modification(s)
    Avoidance Actions           •     Avoidance Actions, Avoidance Action Proceeds, commercial tort
     and Commercial                   claims and the proceeds thereof have been removed from the
       Tort Claims                    Prepetition First Lien Secured Parties’ collateral package for the
                                      Roll Up DIP Loans except to the extent that the Prepetition First
                                      Lien Secured Parties had valid, perfected, and unavoidable
                                      Prepetition First Lien Liens on commercial tort claims as of the
                                      Petition Date (subject to Challenge rights).
       Marshaling               •     Adequate Protection liens and claims are subject to marshaling
                                      away from Avoidance Actions, Avoidance Action Proceeds, and
                                      commercial tort claims.
        Milestones              •     Extensions of Milestones for, among other things, the (i) Bid
                                      Deadline, (ii) approval of Disclosure Statement, (iii) holding of
                                      the Auction (if any), and (iv) outside date for the Effective Date
                                      of the Plan.
       DIP Budget               •     Includes payment of § 503(b)(9) claims, stub rent, and
                                      postpetition rent, and UCC professionals are treated the same as
                                      the Debtors’ professionals for purposes of the Carve-Out.
        Challenge               •     Roll Up DIP Loans subject to the Committee’s Challenge rights.
                                •     Credit bidding by the Prepetition First Lien Secured Parties
                                      subject to the Committee’s Challenge rights.


6
     The information set forth in Parts A and B is for summary purposes only.

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           Term                                            Modification(s)
                               •    Committee’s Challenge Deadline extended to January 28, 2025,
                                    subject to further extension.
                               •    Waiver of arguments to contest Committee’s standing on basis of
                                    limited liability company status.
                               •    Investigation budget increased to $250,000.

       Freedom                 •    All rights of the Freedom HoldCo Debtors are preserved to argue
    HoldCo Debtors                  that the proceeds of the DIP Facility transferred to, or otherwise
                                    used to make payments on behalf of, the Freedom HoldCo
                                    Debtors did not benefit the Freedom HoldCo Debtors or
                                    otherwise should not form the basis of an allowed claim against
                                    them.


          B.        Revised Bidding Procedures

           Term                                           Modification(s)
  Extended Timeline            •    Sale process timeline extended by approximately 1.5 weeks to
                                    provide Potential Bidders with additional time to submit Bids.
  Piecemeal Bidding            •    Clarification that Potential Bidders may submit Bids for the
    and No Sale of                  Debtors’ Assets on disaggregate basis and exclusion of
  Commercial Torts                  commercial torts and certain avoidance actions.
     and Certain
  Avoidance Actions
 Consultation Rights           •    Professional advisors to Committee have robust consultation
                                    rights, which cannot be modified, to ensure that Committee is
                                    able to actively participate in sale process.
 Adequate Assurance            •    Information regarding adequate assurance of future performance
                                    required to be timely sent to requesting contract counterparties.
        Carve-Out              •    Certain assets carved out of Assets subject to sale to ensure that
                                    the estates maintain value for all stakeholders.


          4.        These modifications to the terms of the proposed Revised Final DIP Order and the

Revised Bidding Procedures were designed to, among other things, (i) protect unencumbered

assets, (ii) preserve distributable value for general unsecured creditors for each of the Debtors’

entities wherever located in the corporate structure, (iii) ensure that the Committee has the

resources necessary to conduct a comprehensive investigation in connection with its Challenge


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rights, and (iv) improve and clarify the Debtors’ sale process and solidify the Committee’s active

participation therein. Further, such modifications adequately address the Committee’s primary

concerns with respect to the DIP Motion and the Bidding Procedures Motion, as originally

proposed.

          5.        The Committee is new to these Chapter 11 Cases and has serious concerns

regarding, among other things, the Debtors’ proposed chapter 11 plan (the “Plan”) and related

disclosure statement, and substantial work remains if the Debtors are to achieve their stated goal

of efficiently maximizing value for the benefit of all stakeholders. However, in light of the material

changes incorporated into the proposed Revised Final DIP Order and Revised Bidding Procedures,

the Committee supports the modified relief requested in the DIP Motion and the Bidding

Procedures Motion. The Committee intends to continue to work collaboratively with the Debtors,

the First Lien Lender Group, and other key stakeholders to resolve its concerns regarding the Plan

and other open issues as these Chapter 11 Cases progress.



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 Dated:       December 9, 2024         Respectfully submitted,

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